902 F.2d 1562
    United Mine Workers of America, International Union, byRabbit (Thomas), Dist. 4, United Mine Workers of Amer., ByKelly (James), Local 1313, United Mine Workers of Amer., byDirda (Joe), Menallen Coke Co.v.Nobel (Max), Menallen Coke Company, United Mine Workers ofAmerica 1974 Benefit Plan and Trust
    NO. 89-3734
    United States Court of Appeals,Third Circuit.
    APR 09, 1990
    
      Appeal From:  W.D.Pa.,
      Ziegler, J.,
    
    720 F.Supp. 1169
    
      1
      AFFIRMED.
    
    